Case 1:18-mC-00501-SHR Document 1 Filed 08/24/18 Page 1 of 12

Notice of Special Restricted Appea:rance: Elam, rashaan, mechelle, Beneflcial OWner 1St Lien Holder

   

 

1 of AM F§.AS§l/n\/§\N MC®§§§L§§§ @§§W§ MJ§EM M®®P‘M ©®TM
2 Elam, rashaan, mechelle, Sui Juris RE US
C/O 1004 North West Street
3 Apartment 5 (tracking number for mailed copy)
Carlisle, Pennsylvania
4 (ZIP Exempt pursuant to DMM 602)
717-614-7786
5
In The Federal District Court for the Middle District of Pennsylvania
6 A Common LaW Court of Record
7
8 Elam, rashaan, mechelle sui juris § Case Number: CP-Zl-CR-1262-2018
9 Dba. RASHAAN MECHELLE ELAM §
‘ § N()TICE OF MOTION AND
1 O v. § MOTION TO INTERVENE
1 1 PUBLIC OFFICER(S) § WITH AN INJUNCTION
-Josh Shapiro D/b/a. JOSH SHAPIRO § \
12 d/b/a Attorney General for Commonwé,alth of § \ °_ \% “'“’ (YA\C fw \ d
1 3 Pennsylvania, §
14 -Tom Wolf d/b/a TOM WOLF d/b/a Governor of §
1 5 Comrnonwealth of Pennsylvania §
- Robert Torres D/b/a ROBERT TORRES d/b/a Secretary §
1 6 of the Commonwealth of pennsylvania §
1 7 - Ronnie R. Anderson D/B/A RONNIE R. ANDERSON § F§ L E D
18 sH;ERlFF of cUMBERLAND COUNTY PENNSYLVANIA § HAR R'SBU F‘?G. PA
andAuDEPUTIES § AUG 2 4 2018
- Jessica Brewbaker, Edward Guido, Christylee Peck, and § Per WQ
20 Thomas Placey D/b/a CUMBERLAND COUNTY § Deputy mem
2 1 PENNSYLVANIA COURT OF COMMON PLEAS JUDGES §
2 2 CARLISLE BOROUGH POLICE DEPARTMENT §
MIDDLESEX POLICE TOWNSHIP POLICE DEPARTl\/IENT §
2 3 PENNSYLVANIA STATE POLICE DEPARTMENT §
24 PENNSYLVANIA DEPARTMENT OF TRANSPORTA”HON §
2 5
2 6

CONSTITUTIONAL CHALLENGE Page 1 Of 12

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Notice of Special Restricted Appea;rance: Elarn, rashaan, mechelle, Beneiicial Owner lst Lien Holder

   

cf §L§§§§ §§s§§§m M_§a§@§§§ §§§§§§a/§§Msn§y§§§ §§§c§"§§§§§§§§§§

 

NOTICE OF ESTOPPEL AND STIPULATION OF CONSTITUTIONAL CHALLENGE TO ALL

UNITED STATES STATUTES, PENNSYLVANIA STATUTES AND §TATE OF STATES Wl_lERE
No general law affecting private rights, shall be varied in any particular case, by special

legislation, except With the free consent, in writing of all persons to be affected thereby; AND
MOTION TO INTERVENE \VITH A INJUNCTION FOR Elam. rashaan. mechelle: dba_

RASHAAN MECHELLE ELAM.

TAKE N()TICE THAT:

1. Article 6 of the United States Constitution states in pertinent part that, “This Constitution, and
the Laws of the United States which shall be made in Parsuance thereof; and all Treaties made,
or which shall be made, under the Authority of the United States, shall be the supreme Law of
the Land; and the Judges on every State shall be bound thereby, any T hing in the Constitution
or Laws of any Sate to the Contrary notwithstanding ”

2. DISTRICT OF COLUMBIA ORGANIC ACT OF 1871 FORTY FIRST CONGRESS. Sess.
III. CH. 62. 1871. [ht;ps://Www.loc.gov/laW/help/statutes-at-largc/41st-congress/session-
3/c41s3ch62.pdf] [Federal Rules for Self Authentication: Federal Rules of Evidence 902:
https://WWW.law.cornell.edu/rules/fre/rule_902]

Sec. 17 . And be it further enacted, T hat the legislative assembly shall not pass special laws in any
of thefollowing cases,' that is to say : For granting divorces ,' regulating the practice in courts of
justice ,' regulating the jurisdiction or duties of justices of the peace, police magistrates or
constables ,' providing for changes of venue in civil or criminal cases, or swearing and impaneling
jurors ; remitting jines, penalties, or forfeitures ; the sale or mortgage of real estate belonging to
minors or others under disability ,‘ changing the law of descent ; increasing or decreasing the fees
of public officers during the term for which said ojj'icers are elected or appointed ; granting to any
corporation, association, or individual, any special or exclusive privilege, immunity, or franchise
whatsoever. T he legislative assembly shall have no power to release or extinguish, in whole or in
part, the indebtedness liability, or obligation of any corporation or individual to the District or to
any municipal corporation therein, nor shall the legislative assembly have power to establish any
bank of circulation, nor to authorize any company or individual to issue notes for circulation as
money or currency.

3. Sec. 20. And be it further enacted, Yhat the said legislative assembly shall not have power to pass
any ex post facto law, nor law impairing the obligation of contracts, nor to tax the property of the
Unitea’ States, nor to tax the lands or other property of nonresidents higher than the lands or other
property of residents ,' nor shall lands or other property in said district be liable to a higher tax, in
any one year, for all general objects, territorial and municipal, than two dollars on every hundred
dollars of the cash value thereof ,' but special taxes may be levied in particular sections, wards, or
districts for their particular local improvements ; nor shall said territorial government have
power to borrow money or issue stock or bonds for any object whatever, unless specially
authorized by an act of the legislative assembly, pass by a vote of two thirds of the entire number
of the members of each branch thereof but said debt in no case to exceed five per centum of the

CONSTITUTIONAL CHALLENGE Page 2 Of 12

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Notice of Special Restricted Appearance: Elam, rashaan, mechelle, Beneiicial Owner 1st Lien Holder
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assessed value of the property of said District, unless authorized by a vote of the people, as
hereinafter [hereinbefore] provided

AND TAKE FURTHER NOTICE THAT: pursuant to the 1787 United States Constitution Article ]
Section 9 Clause 3 “NO BILL OF ATTAINER or EXPOSTFACTO LA WSHALL BE PASSED”

AND TAKE FURTHER NOTICE THAT: Pursuant to the United States Bill of Rights written
December 15, 1 791 T hese Amendments were ratified and form what is known as the “Bill of Rights ”

Amendment I.‘

Congress shall make no law respecting an establishment of religion, or prohibiting the free
exercise thereof,' or abridging the freedom of speech, or of the press,' or the right of the people
peaceable to assemble, and to petition the Government for a redress of grievances

The U.S. Corporation is a religious for Projit Colporation, which I choose not to associate with. And
the Constitution explicitly states that I cannot be forced into a religion or be forced to follow any laws
that hinder my free expression of freedom of religion

AND TAKE FURTHER NOTICE THAT pursuant to 1789 Constitution of the United States of
America (as ratified Without subsequent amendments) and 1789 Bill of Rights; Amendment X. The
powers not delegated to the United States by the Constitution, nor prohibited by it to the states, are
reserved to the states respectively, or to the people.;

[Constitution of Pennsylvania- September 28 1776 A DECLARATION OF THE RIGHTS OF
THE INHABITANTS OF THE COMMONWEALTH OR STATE OF PENNSYLVANIA]

 

constitution-1776. html]

[I.] That all men are born equally free and independent, and have certain natural, inherent and
inalienable rights, amongst which are, the enjoying and defending life and liberty, acquiring,
possessing and protecting property, and pursuing and obtaining happiness and safety.

[II.] That all men have a natural and unalienable right to worship Almighty [God] according to
the dictates of their own consciences and understanding: And that no man ought or of right can
be compelled to attend any religious worship, or erect or support any place of worship, or
maintain any ministry, contrary to, or against, his own free will and consent: Nor can any man,
who acknowledges the being of a [God], be justly deprived or abridged of any civil right as a
citizen, on account of his religious sentiments or peculiar mode of religious worship: And that no
authority can or ought to be vested in, or assumed by any power whatever, that shall in any case

CONSTITUTIONAL CHALLENGE Page 3 Of 12

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`Notice of Special Restricted Appearance: Elam, rashaan, mechelle, Beneficial Owner lst Lien Holder

of §§§§§§. §§§§§§\§'§1§1\§§©§§§§§ §ltit;§ir§ Ma§§§§§§§ §§§©§§LK§§E§§§©®TM

   

interfere with, or in any manner control, the right of conscience in the free exercise of religious
worship.

[IX.] That in all prosecutions for criminal offences, a man hath a right to be heard by himself and
his council, to demand the cause and nature of his accusation, to be confronted with the
witnesses, to call for evidence in his favour, and a speedy public trial, by an impartial jury of the
country, without the unanimous consent of Which jury he cannot be found guilty; nor can he be
compelled to give evidence against himself; nor can any man be justly deprived of his liberty
except by the laws of the land, or the judgment of his peers.

[X.] That the people have a right to hold themselves, their houses, papers, and possessions B“ee
from Search and seizure, and therefore warrants without oaths or affirmations first made,
affording a sufficient foundation for them, and whereby any oflicer or messenger may be
commanded or required to search suspected places, or to seize any person or persons, his or their
property, not particularly described, are contrary to that right, and ought not to be granted.

[PLAN OR FRAME OF GOVERNMENT FOR THE COl\/ll\/[ONWEALTI-I OR STATE OF
PENNSYLVANIA]

[SECT. 28.] The person of a debtor, where there is not a strong presumption of fraud, shall not be
continued in prison, alter delivering Up, bona iide, all his estate real and personal, for the use of
his creditors, in such manner as shall be hereafter regulated by law. All prisoners shall be bailable
by sufficient sureties, unless for capital offences, when the proof is evident, or presumption
great.

[Constitution of the Commonwealth of Pennsylvania - 1790]
[https://www.duq.edu/academics/gumberg-library/pa-constitution/texts-of-the-constitution/ l 790]

ART|CLE Vll

[Sect. ll|.] The rights, privileges, immunities and estates of religious societies and corporate
bodies shall remain, as if the constitution of this state had not been altered or amended

ART|CLE IX

That the general, great, and essential principles of liberty and free Government may be
recognized and unalterably established, WE DECLARE,

Of the equality and rights of men.

[Section |.] That all men are born equally free and lndependent, and have certain inherent
and indefeasible rights, among Which are those of enjoying and defending life and liberty, of

CONSTITUTIONAL CHALLENGE Page 4 Of 12

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Notice of Special Restricted Appearance: Elam, rashaan, mechelle, Beneflcial Owner lSt Lien Holder
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acquiring, possessing, and protecting property and reputation, and of pursuing their own
happiness.

Of the origin of power, and the end of government

[Sect. ||.] That all power is inherent in the people, and all free governments are founded on

their authority, and instituted for their peace, safety and happiness: For the advancement of
those ends, they have, at all times, an unalienable and indefeasible right to alter, reform, or
abolish their government, in such manner as they may think proper.

Of the rights of conscience, &c.

[Sect. |ll.] That all men have a natural and indefeasible right to worship A|mighty God
according to the dictates of their own consciences; that no man can, of rlght, be compelled
to attend, erect, or support any place of worship, or to maintain any ministry against his
consent; that no human authority can, in any case whatever, control or interfere with the
rights of conscience; and that no preference shall ever be given, by law, to any religious
establishments or modes of worship

Of insolvent debtors.
[Sect. XVl.] That the person of a debtor, where there is not strong presumption of fraud,

shall not be continued in prison, after delivering up his estate for the benefit of his creditors,
in such manner as shall be prescribed by law.

Of ex post facto |aws.

[Sect. XV|l.] That no ex post facto law, nor any law impairing contracts, shall be made.

Of attainder of treason and felony.

[Sect. XVl|l.] That no person shall be attainted of treason or felony by the legislature

Of attainder, fe|o de se, and deodand.

[Sect. XlX.] That no attainder shall work corruption of blood, nor, except during the life of the
offender, forfeiture of estate to the commonwealth; that the estates of such persons as shall

destroy their own lives shall descend or vest as in case of natural death; and if any person
shall be killed by casualty, there shall be no forfeiture by reason thereof.

CONSTITUTIONAL CHALLENGE Page 5 Of 12

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Notice of Special Restricted Appearance: Elam, rashaan, mechelle, Beneficial Owner lSt Lien Holder

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Of the right to assemble, petition, &c.

iSect. XX.] That the citizens have right, in a peaceable manner, to assemble together for
their common good, and to apply to those invested with the powers of government for
redress of grievances, or other proper purposes, by petition, address, or remonstrancem

AND TAKE FURTHER NOTICE THAT pursuant to the [FRCP RUL 5.l] the Claimant listed in the
above styled action will make and application for:
l. Short leave to be granted for the application and
2. Relief Under [24(1) of the FRCP] on the following grounds
a. Challenge of the Constitutionality of the all federal and state statutes

i. United States Code any and all Statues and codes mandating forced
registration of private property including any and all Laws, Statues, and Codes that creates any adhesion
contracts against my Will and Without my Written consent.

ii. any and all Statues, Codes that violate my right to travel.

iii. all statues and codes of the Commonwealth of Pennsylvania (including
traffic, motor vehicle and foreclo sure)

iv. Pennsylvania Vital Statistics Law of 1953

v. any and all Pennsylvania Statues and codes mandating forced registration of
private property including any and all Laws, Statues, and Codes that creates any adhesion contracts
against my will and without my written consent.

vii. any and all Statues and Codes mandating me to identify myself with a State ld
in which my name has been altered Hom what was given by my parents in proper English grammar and
Proper styling thus violating my religious belief.

viii. any and all Statues and Codes that violate my religious beliefs

AND TAKE FURTHER NOTICE THAT the matter is to be argued or set for trial on fi`t;@ M"
§§ §§M §§tl¢

 
  

g Was filed

   

AND TAKE FURTHER NOTICE THAT an affidavit filed on ft:t,@
With the court in support of the Claimant’s claim.

»

AND TAKE FURTHER NOTICE THAT the material fact giving rise to the constitutional questions
are as follows

CONSTITUTIONAL CHALLENGE Page 6 Of 12

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Notice of Sp§cialbd` R§strict§d Appearanc§ §lam, rashaan, mechelle, B§n§ficial Owner 1St Lien Holder
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The statues and codes are listed in Paragraph (2)(a)(i)(ii)(iii)(iv)(v)(vi)(vii)(viii)

The date of the question did rise nunc pro tunc

 

Constitution of Pennsylvania- FS§ptemb§r 28, 1776
5. Constitution of P§nnsylvania - 1790

6. Substantive Law to support the Habeas Corpus denial
7. Substantiv§ Law is in support of defendant’s defense

8. The general assembly shall not indirectly enact a special or local law by the partial
repeal of a general law; but laws repealing local or special acts may be passed.

AND TAKE FURTHER NOTICE THAT I, Elam, rashaan, mechell§ 1St lien holder of the 14th
amendment person ELAM, RASHAAN, MECHELLE corp sole dba RASHAAN MECHELLE ELAM
did not consent for me or my private property to being a 14th amendment citizen of the U.S. or STATE
-PENNSYLVANIA OR any other state in Writing or any other consent, especially since this was done
when l was a baby, when contracts lil<§, the birth certificate was done and social security number was
issued in the above mention nam§s, which would have put me under legal disability to contract, and not
capable of such contract.

 

AND TAKE FURTHER NOTICE THATI “Elam, rashaan m§chelle” Reserve my right to Withdraw
my name and my property Elam, rashaan, m§ch§lle dba RASHAAN MECHELLE ELAM §ns legis from
the Social Security Program.

AND TAKE FURTHER NOTICE THATI “Elam, rashaan mechelle” R§s§rve my right to withdraw
my name and my property Elam, rashaan, mechelle dba RASHAAN MECHELLE ELAM §ns legis from
PENNSYLVANIA DEPARTMENT OF TRANSPORTAT.[ON.

AND TAKE FURTHER NOTICE THATI “Elam, rashaan mechell§” R§serve my right to withdraw
my name and my property Elam, rashaan, mech§lle dba RASHAAN MECHELLE ELAM ens legis from
IRS.

AND TAKE FURTHER NOTICE THAT 1 “Elam, rashaan mechelle” Reserve my right to withdraw
my name and my property Elam, rashaan, mechelle dba RASHAAN MECHELLE ELAM §ns legis from
P§nnsylvania D§pt of Transportation.

CONSTITUTIONAL CHALLENGE Page 7 Of 12

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Notice of Special Rescttrid Apperancae: Elam, rashaan, mechelle_, Bneeflcial Owner lSt Lien Holder
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AND TAKE FURTHER NOTICE THAT the material facts giving rise to the constitutional
question are as follows: `

1. unalienable rights, protected by 1776 BILL OF RIGHTS, Federal government
contracting With a minor has been violated.

2. unalienable rights Were violated; protected by 1776 BILL OF RIGHTS. SECTION IV.
Par. l.

Laws of a general nature shall have uniform operation throughout the State, and no special law
shall be enacted in any case for Which provision has been made by an existing general law. No
general law affecting private rights, shall be varied in any particular case, by special legislation
except With the free consent, in Writing of all persons to be affected thereby ; and no person
under legal disability to contract, is capable of such consent. has been violated.

3. unalienable rights Were violated; 1776 BILL OF RIGHTS SECTION and the
Constitution of the United States, are void, and the Judiciary shall so declare them violated.

4. unalienable rights, Were violated; protected by ( the 1790 Pennsylvania Constitution?)
1776 Pennsylvania Constitution (as ratified Without subsequent amendments) BILL OF
RIGHTS,

Par. X. That the people have a right to hold themselves, their houses, papers, and
possessions free from search and seizure, and therefore Warrants without oaths or
affirmations first made, affording a sufficient foundation for them, and Whereby any
officer or messenger may be commanded or required to search suspected places, or to
seize any person or persons, his or their property, not particularly described, are
contrary to that right, and ought not to be granted.

AND TAKE FURTHER NOTICE THAT l DEMAND, for you to change the citizenship of the name
Elam, Rashaan, Mechelle dba RASHAAN MECHELLE ELAM TO Private American National.

AND TAKE FURTHER NOTICE THAT l DEMAND, for you to change the status of the name Elam,
Rashaan, l\/lechelle dba RASHAAN MECHELLE ELAM TO Tax Exempt in all states Including the
UNITED STATES.

AND TAKE FURTHER NOTICE THATI DEMAND, for you to Provide documents and protection
to that effect including, but not limited to, identification documents pertaining to trade (i.e. Religious
Tax exemption in all manners), transportation and communication, as Well as documents pertaining to
international travel and personal security;

CONSTITUTIONAL CHALLENGE Page 8 Of 12

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Notice of Special Restricted Appearance: Elam, rashaan, mechelle, Beneficial Owner lst Lien Holder

of E;§§§§§§ W§i§ii§\_§§\§§ §§§UHE§§§§§E §§U@‘ l§§§§l;i§_/§_/ § §§§`§ (:§§§:§§I}E EL§§§§ ©®TM

 

AND TAKE FURTHER NOTICE THATI DEMAND, for you to put the name Elam, Rashaan,
Mechelle dba RASHAAN MECHELLE ELAM ON THE DO N()T STOP, DO NOT DETAIN LIST
FOR PENNSYLVANIA and all OTHER STATES.

i reserve all my god given rights as protected by all public officers oaths to above said Pennsylvania
Constitution and don't Waive any part of my rights, abide by your oaths to it. i also have a 9 billion dollar
lien on the names that are Private Trust property and there Will be a charge of $9,999.00 dollars against
you and your agencies or contractors, Which this is your contract Where you agree to pay this amount to
me Elam, rashaan, mechelle m the Name RASHAAN MECHELLEELAl\/l FOR THE TRESPASS of

my unalienable rights, protected by "t e_ 127 FQOP, w .~

 

AND TAKE FURTHER NOTICE THAT THIS IS A CONTRACT, your failure to answer and rebut
this affidavit is acquiescence to the facts stipulated herein, you have 72 hrs. to answer, then this contract
is laW.

i, Elam, rashaan, mechelle, am of the age of majority and i stand firmly on the facts recited in this
affidavit

Date: y Z¢?QZ[Y
By:f§,§,MHMA/L____~ form

Ucc 1-103.6, UCC 1-308, Ucc 1-301, UCC 1-107 /u/+/Q

AND TAKE FURTHER NOTICE THAT the grounds for this Constitutional question are as folloWs:
l. That the CUMBERLAND COUNTY COURT OF COMMON PLEAS comply to [Rule 24(2)
of the FRCP];

2. That the CUMBERLAND COUNTY COURT OF COMMON PLEAS reschedule trail until
constitutional challenge is examined;

3. The CUMBERLAND COUNTY COURT OF COMMON PLEAS delay trial until
requirements of the supreme court of Pennsylvania and State of Pennsylvania Attorney General has
been properly placed on notice.

El m, rashaan, mechel|e, registered owner
E AM, RASHAAN MECHELLE corp. sole

c/o Po Box [143]

[Pennsylvania] state Republic

Near; [17013]

CONSTITUTIUNAL CHALLENGE Page 9 Of 12

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Notice of Special Restricted Appearance: Elam, rashaan, mechelle, Beneficial Owner lst Lien Holder

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ACKNOWLEDGEMENT OF NOTARY

Cumberland County ) For verification purposes only
) Scilicet §
Pennsylvania state )

SUBSCRIBED TO AND SWORN before me tmery of eighth month, 2018, a Notary, that ,
Elam, rashaan mechelle personally known to me (or proved to me on the basis of satisfactory
evidence of identification) to be a person whose name is subscribed to the within instrument(s) and
acknowledged to me that he/she/they executed the same in his/her/their authorized capacity, and that
by his/her/their signature on the instrument the person or the entity upon behalf of which the person
acted, executed that instrument personally appeared and known to me to be the woman whose name
subscribed to the within instrument and acknowledged to be the same.

Witnessed, my hand and ojj'icial seal.

COMMONWEALTH OF PENNSYLVAN|_A
NOTARIAL SEAL

 

l Wendy L. Sikes, Notary Pub|ic
Shlppensburg Boro, Cumberland County
My Commlssion ExpirsJue 3, 2019

       
 

 

 

 

My Commission expires: w z '

PROOF OF SERVICE

Now comes Elam, rashaan, mechelle the living woman, non-citizen national, non
resident, Executor of the Cestui Que Vie trust, ELAM, RASHAAN MECHELLE, corp. sole dba.
RASHAAN MECHELLE ELAM one of the people of Pennsylvania-a republic union state pre
1781 (a native Pennsylvanian) and declares as follows:

1 did on the ad of @ML 201§_ caused to be mailed via USPS Registered or Certified mail:

Copies of this Constitutional Challenge and Injunction, Afiidavit on right to travel, Affidavit of Truth,
and Notice of Removal to the following:

D/b/a. Jeff Sessions, d/b/a. U.S. Attorney General,
U.S. Department of Justice

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Notice of Special Restricted Appearance: Elam, rashaan, mechelle Beneficial aner 1st Lien Holder

Of: RASMM WMLB'E@@@@MM@MSHMN 111 f* _1 _:

 

950 Pennsylvania Avenue, NW
Washington, DC 20530-0001
RE US

 

D/b/a Mike Pompeo d/b/a U.S. Secretary Of State
2201 Center Street NW
Washington DC 20010

D/b/a. Josh Shapiro d/b/a Attorney General of Pennsylvania
16th Floor, Strawberry Square

Harrisburg, PA 17120

Certiiied Mail #

 

Tom Wolf d/b/a TOM WOLF d/b/a Governor of Pennsylvania
Off`lce of the Governor

508 Main Capitol Building

Harrisburg, PA 17120

Certifled Mail #

 

Robert Torres d/b/a ROBERT TORRES d/b/a Secretary of the Commonwealth of Pennsylvania
302 North Office Building,

401 North Street

Harrisburg, PA 17120

Certified Mail #

 

Ronnie R. Anderson D/B/A RONNIE R. ANDERS ON d/b/a Sheriff of Cumberland County
Pennsylvania

1 Courthouse Squa;re
Room 303

Carlisle, PA17013
Certiiied Mail #

 

Cumberland County Court of Common Pleas Judges and Clerk of Courts
c/o Cumberland County Clerk of Courts

1 Courthouse Square

Room 205

Carlisle, PA17013

RE US

 

CARLISLE BOROUGH POLICE DEPARTMENT
Attn: Taro Landis (ChieD
Carlisle Police Department
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Notice of Special Restricted Appearance: Elam, rashaan, mechelle, Beneficial Owner lst Lien Holder

 

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240 Lincoln Street
Carlisle, PA 1701
Certified Mail #

 

MIDDLESEX POLICE TOWNSHIP POLICE DEPARTMENT
Attn: Ba;rry L. Sherrnan, Director of Public Safety

350 N MiddleseX Rd #3

Carlisle, PA 17013

Certitied Mail #

 

PENNSYLVANIA STATE POLICE DEPARTMENT

Attn: Lieutenant Colonel Robert Evanchick, Commissioner
1800 Elmerton Ave.

Harrisburg, Pa 17110

Certified Mail #

 

PENNSYLVANIA DEPARTMENT of TRANSPORTATION
Attn: Leslie Richards Secretary of Transportation

PA Department of Transportation

Keystone Building

400 North St., Fifch Floor

Harrisburg PA 17120

Certiiied Mail #

 

i declare under penalty of perjury under the law of the Commonwealth of Pennsylvania
and 28 U.S. Code § 1746 - (1) that the foregoing is true and correct to the best of my knowledge,
and that i am physically located outside the geographic boundaries of the United States, Puerto
Rico, the Virgin Islands and any territory or insular possession subject to the jurisdiction of the
United States.

Executed on the ,?_V_?bday of ¢?€g¢¢a£¢ , 20[[, At 0 93 § gm , (date) hew
(month)' @,&Q_J 20 _l_f_, (on the land of city/town) {Z¢ Q, _,/4 , (county ot)

Qm!m feb al (COuntrY Of) M¢}¢ZM¢ML~

 

Elam, rashaan, mechelle, Without Prejudice, All Rights Reserved, UCC 1- 308, U/T/A

CONSTITUTIONAL CHALLENGE Page 12 Of 12

